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                                              20                     UNITED STATES DISTRICT COURT
                                                                    CENTRAL DISTRICT OF CALIFORNIA
                                              21
                                                   KELLYE CROFT,                         Case No. 2:24-cv-00371-PA (AGR)
                                              22
                                                              Plaintiff,                 AMENDED COMPLAINT
                                              23                                         SEEKING DAMAGES
                                                        vs.
                                              24
                                                 JAMES DOLAN, HARVEY                     JURY TRIAL DEMANDED
                                              25 WEINSTEIN, JD & THE STRAIGHT
                                                 SHOT, LLC, THE AZOFF COMPANY
                                              26 HOLDINGS LLC f/k/a/ AZOFF
                                                 MUSIC MANAGEMENT, LLC, THE
                                              27 AZOFF COMPANY LLC f/k/a AZOFF
                                              28                  AMENDED COMPLAINT SEEKING DAMAGES
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                                                 MSG ENTERTAINMENT, LLC, DOE
                                               1 CORPORATIONS 1-10,
                                               2                         Defendants.
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                                              28                  AMENDED COMPLAINT SEEKING DAMAGES
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                                               1
                                               2
                                               3         Plaintiff Kellye Croft alleges as follows:

                                               4                           PRELIMINARY STATEMENT
                                               5
                                                         1.    In 2018, James Dolan sent an email to his “friends” sharing the debut
                                               6
                                               7 of a new song he wrote. He explained that the song was about his feelings about
                                               8 friends of his who were alleged to have used “power to coerce or force sexual
                                               9
                                                   gratification”—a clear reference to his former best friend and now convicted sexual
                                              10
                                              11 predator Harvey Weinstein, who had recently been outed as a serial perpetrator of
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                                              12 rape and sexual assault.
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                                              13
                                                       2.    The chorus of the song, “I Should’ve Known,” is as follows:
                                              14
                                              15                                  I should’ve known
                                                                                  I should’ve known
                                              16                                  I should’ve thrown
                                              17                               Myself across his tracks
                                                                          Stopped him from these vile attacks
                                              18                                  I should’ve known
                                              19                              We believed and didn’t see
                                                                             Through the lies he told us all
                                              20                            They led him to his endless fall
                                              21                                  I should’ve known
                                                                                  I should’ve known
                                              22
                                              23         3.    Among the “friends” Dolan sent this email to was Kellye Croft, a young
                                              24 woman from Smyrna, Tennessee. Dolan met Ms. Croft in 2013, when she was 27
                                              25
                                                 years old and he was 58 years old, and when she was working as a Licensed Massage
                                              26
                                              27 Therapist on tour with the rock band, the Eagles. Dolan, upon information and
                                                                                         1
                                              28                 AMENDED COMPLAINT SEEKING DAMAGES
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                                               1 belief, significantly contributed to the financing for that tour, and his band, JD &
                                               2 The Straight Shot, opened for the Eagles.
                                               3
                                                        4.     Upon hearing this song, Ms. Croft was horrified—not just by the
                                               4
                                               5 mediocrity of Dolan’s music, but moreover by the blatant lie the song told.
                                               6        5.     In January 2014, Dolan and related companies brought Ms. Croft to Los
                                               7
                                                   Angeles. Although Ms. Croft was purportedly to perform work as a Licensed
                                               8
                                               9 Massage Therapist, in reality, she was being trafficked by Dolan—a man over three
                                              10 decades older than her—under fraudulent pretenses for Dolan to engage in unlawful
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                                              11
                                                 and unwelcome sex acts with her.
                                              12
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                                              13       6.    Adding insult to injury, during this trip—because of Dolan’s actions in

                                              14 facilitating, enabling, and aiding Weinstein in meeting Ms. Croft—Ms. Croft also
                                              15
                                                 fell victim to one of Weinstein’s “vile attacks” mentioned in Dolan’s song.
                                              16
                                              17         7.     Immediately after the attack by Weinstein, she told Dolan what
                                              18 happened.
                                              19
                                                       8.    Contrary to Dolan’s overly-insistent incantation in 2018 that he
                                              20
                                              21 “should’ve known” about Weinstein’s problematic behavior—he did know. Dolan
                                              22 knew about Weinstein’s predatory behavior prior to January 2014 as he readily
                                              23
                                                 admitted to Ms. Croft that he knew all about Weinstein’s history of assaulting and
                                              24
                                              25 sexually abusing women, telling her that “we all know” that Weinstein “has
                                              26 problems,” and insisting that “his friends” were trying to get him “help.”
                                              27
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                                              28                 AMENDED COMPLAINT SEEKING DAMAGES
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                                               1         9.    Ms. Croft was upset by Dolan’s response, but at the time she was

                                               2 completely unaware of the extent to which Dolan, Weinstein, and Irving Azoff,
                                               3
                                                   manager of the Eagles, were all close friends and business partners. As evidenced
                                               4
                                               5 by the pictures below, these men were close to one another, and thus almost certainly
                                               6 knew details about each other’s personal lives.
                                               7
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                                              15
                                                                       James Dolan and Harvey Weinstein, 2005
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                                              25                       James Dolan and Harvey Weinstein, 2014
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                                              28                   AMENDED COMPLAINT SEEKING DAMAGES
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                                                                  James Dolan, Irving Azoff, and Harvey Weinstein, 2014 1
                                               9
                                              10          10.     Nor did Ms. Croft know that Dolan had a reputation for being brutish
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                                              11
                                                   and difficult to work with. Dolan’s unlawful acts and misogynist views are now
                                              12
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                                                   widely known, with Dolan having been found liable for attempting to silence
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                                              13
                                              14 Anucha Browne by terminating her employment after she complained about being
                                              15
                                                   sexually harassed by Isiah Thomas. Even years after the $11.6 million jury verdict,
                                              16
                                                   Dolan refused to accept responsibility for his actions, claiming that Ms. Browne
                                              17
                                              18 made up many of her allegations.
                                              19
                                                          11.     In short, by claiming that he “should’ve known,” James Dolan doth
                                              20
                                              21 protest too much. Although for many years, Ms. Croft had been too traumatized by
                                              22 these events to speak publicly about what happened to her, she is ready to speak out
                                              23
                                              24   1
                                                          This photo was taken as part of Advertising Week New York in September 2014, during
                                              25 which James Dolan, Irving Azoff, Harvey Weinstein, and Robert Safian jointly participated in a
                                                   public panel entitled “The Curtain Rises” as “industry icons” representing film, music, sports, and
                                              26 the business of entertainment. See https://archive.advertisingweek.com/events/ny/2014/calendar/-
                                              27 newyork-2014-09-29-the-curtain-rises.
                                                                                                    4
                                              28                      AMENDED COMPLAINT SEEKING DAMAGES
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                                               1 about what Dolan and Weinstein separately did to her, and the ways in which Dolan
                                               2 facilitated—and orchestrated—Weinstein’s horrific attack. She needs the world to
                                               3
                                                   know: James Dolan unlawfully trafficked her for his own sexual gratification and
                                               4
                                               5 knew about Weinstein’s predatory behavior well before he published his musical
                                               6 mistruths; in fact, he knew before he joined the Board of Directors of Weinstein’s
                                               7
                                                   production company.
                                               8
                                               9                                       PARTIES
                                                         12.   Plaintiff Kellye Croft is a 38-year-old woman and is a resident of the
                                              10
                                              11 State of Tennessee.
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                                              12
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                                                         13.   Defendant Harvey Weinstein is, on information and belief, a citizen of
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                                              13
                                                   the State of New York and presently is incarcerated at the Mohawk Correctional
                                              14
                                              15 Facility in Rome, New York.
                                              16         14.   Defendant James Dolan is, on information and belief, a citizen of the
                                              17
                                                   State of New York.
                                              18
                                              19         15.   Defendant JD & The Straight Shot, LLC is a New York domestic
                                              20 liability company. On information and belief, JD & The Straight Shot, LLC is
                                              21
                                                 substantially or entirely owned, directly or indirectly, by Dolan.
                                              22
                                              23         16.   Defendant The Azoff Company Holdings, LLC, formerly known as
                                              24 Azoff Music Management LLC, is a music manager and is a Delaware limited
                                              25
                                                 liability corporation.
                                              26
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                                              28                   AMENDED COMPLAINT SEEKING DAMAGES
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                                               1         17.    Defendant The Azoff Company LLC, formerly known as Azoff MSG

                                               2 Entertainment LLC, was a 2013 joint venture between Azoff Music Management
                                               3
                                                   LLC and The Madison Square Garden Company. In or about 2018, Azoff Music
                                               4
                                               5 Management LLC acquired the portion of the joint venture owned by Madison
                                               6 Square Garden Company. The Azoff Company is a Delaware limited liability
                                               7
                                                   company.
                                               8
                                               9         18.    Defendants The Azoff Company Holdings, LLC and The Azoff

                                              10 Company, LLC are collectively referred to herein as the “Azoff Entities.” On
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                                              11
                                                 information and belief, the Azoff Entities are directly or indirectly owned in
                                              12
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                                              13 substantial part by Irving Azoff. The Azoff Entities with JD & The Straight Shot,
                                              14 LLC are together referred to herein as the “Corporate Defendants.”
                                              15
                                                       19. During the relevant period, Ms. Croft was jointly employed by the
                                              16
                                              17 Azoff Entities and JD & The Straight Shot, LLC, which were jointly responsible for
                                              18 paying Ms. Croft and controlling her work.
                                              19
                                                       20. Doe Corporations 1-10 are unknown successor and related entities of
                                              20
                                              21 the Corporate Defendants who, on information and belief, participated in the events
                                              22 described within that are the basis of Plaintiff’s claims.
                                              23
                                                                          JURISDICTION AND VENUE
                                              24
                                              25         21.    This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343, as
                                              26
                                                   this action asserts violations of 18 U.S.C. § 1591, et seq., and therefore raises federal
                                              27
                                                                                     6
                                              28                     AMENDED COMPLAINT SEEKING DAMAGES
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                                               1 questions regarding the deprivation of Plaintiff’s rights. The Court has supplemental
                                               2 jurisdiction over Plaintiff’s related claims arising under state law pursuant to 28
                                               3
                                                   U.S.C. § 1367(a).
                                               4
                                               5           22.     Pursuant to 28 U.S.C. § 1391(b), venue is proper in this Court because

                                               6 a substantial part of the events or omissions giving rise to this action, including the
                                               7
                                                   intentional and negligent tortious conduct alleged herein, occurred in this District.
                                               8
                                               9                                           FACTS

                                              10      I.         Ms. Croft Joins The Eagles on Tour
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                                              11
                                                           23.     Kellye Croft was born and raised in Tennessee, and by her mid-
                                              12
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                                              13 twenties, had achieved success in her dream career as a Licensed Massage Therapist
                                              14
                                                   with her own small studio.
                                              15
                                              16           24.     In fall of 2013, she was presented with what she believed was her big

                                              17 break, and the opportunity of a lifetime—to serve as the massage therapist for Glenn
                                              18
                                                   Frey of the legendary rock band, the Eagles, on their tour, “History of the Eagles –
                                              19
                                              20 Live in Concert.”
                                              21           25.     For Ms. Croft, this was an unprecedented opportunity, and her friends
                                              22
                                                   and family were incredibly proud. At the same time, Ms. Croft was intimidated by
                                              23
                                              24 the offer to travel across the country with a world-famous rock band: she had not
                                              25 traveled extensively before, had never lived on her own, and had never spent more
                                              26
                                                   than a few nights away from her tight-knit Tennessee community.
                                              27
                                                                                       7
                                              28                       AMENDED COMPLAINT SEEKING DAMAGES
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                                               1         26.    After a few shows with the Eagles in October 2013, Ms. Croft was

                                               2 thrilled when Tom Golseth, the Eagles’ tour manager, reached out to her to see if
                                               3
                                                   she would be available to join the band on tour in North Carolina, Alabama, and
                                               4
                                               5 Florida in November. She gladly accepted the position, and the band arranged for
                                               6 Ms. Croft’s massage table to be transported with the band.
                                               7
                                                         27.    While traveling with the band was an exciting experience, Ms. Croft
                                               8
                                               9 was also overwhelmed. This was particularly true because she did not know anyone
                                              10 else on the tour, and therefore felt extremely isolated.
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                                              11
                                                        28. The experience became even more lonely and stressful for Ms. Croft
                                              12
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                                              13 when she got into a disagreement with Golseth, who had inappropriately chastised
                                              14 her and embarrassed her in front of other tour members.
                                              15
                                                       29. To make matters worse, soon after these interactions took place,
                                              16
                                              17 Golseth was fired from the Eagles tour. Thereafter, Ms. Croft became completely
                                              18 ostracized from other tour members, who believed she was the reason for the tour
                                              19
                                                 manager’s firing.
                                              20
                                              21    II.    Ms. Croft Meets Dolan and Is Lured into Unwanted Sexual Contact
                                              22
                                                         30.    In addition to serving as Frey’s masseuse, tour management gave Ms.
                                              23
                                                   Croft permission to open up massage slots for others on the tour and she did her best
                                              24
                                              25 to help and accommodate others who requested her services.
                                              26
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                                               1          31.     During the November 2013 leg of the tour, Ms. Croft regularly shared

                                               2 her business card with others backstage, both to generate business and to counteract
                                               3
                                                   the profound sense of isolation she felt while traveling with the band.
                                               4
                                               5          32.     On one occasion, she shared her card with James Dolan, the lead singer

                                               6 of the band opening for the Eagles, JD & The Straight Shot. Ms. Croft had never
                                               7
                                                   heard of Dolan, and when she met him, did not know the immense wealth, power,
                                               8
                                               9 and influence he had. She later came to understand that Dolan was in multiple
                                              10 business ventures with the Eagles management company, Azoff Music
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                                              11
                                                 Management, and heard that Dolan was a long-time business partner and significant
                                              12
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                                              13 funder of Azoff’s businesses and of the tour itself, which allowed him to place his
                                              14 mediocre band as the opening act.2
                                              15
                                                       33. Days after her disagreement with Golseth, Dolan scheduled a massage
                                              16
                                              17 with Ms. Croft. Given her unfamiliarity with Dolan, she did not think much of the
                                              18
                                                   2
                                                        See Marc Schneider, MSG’s James Dolan Opens for Eagles, Pens Songs About Eliot Spiter
                                              19 & Trayvon   Martin, Billboard (Sept. 12, 2014), https://www.billboard.com/pro/james-dolan-
                                              20 eagles-madison-square-garden/ (last accessed April 10, 2024) (noting that Dolan “has secured his
                                                   own band to warm up the crowd” for an Eagles show in NYC, and explaining that “The Dolan-
                                              21 Eagles connection is a strong one. They share a manager in Irving Azoff and Eagles guitarist
                                                   Joe Walsh has worked with the Straight Shot in the studio”); see also Scott Cacciola, The Man
                                              22 in        the      Middle,       N.Y.         Times         (March         24,        2014),
                                                 https://www.nytimes.com/2014/03/25/sports/basketball/the-man-in-the-middle-of-the-knicks-
                                              23
                                                   deal-with-jackson.html (last accessed April 10, 2024) (“Enter Azoff, who has been business
                                              24   partners with Dolan since 2004, when Dolan began investing in Azoff’s management company.
                                                   (Dolan and Madison Square Garden have since poured millions more into other Azoff ventures.)
                                              25   They speak on the phone several times a day, Azoff said, and spend time together socially. It was
                                                   at a party in December, at Azoff’s home in the exclusive Holmby Hills section of Los Angeles,
                                              26   that Dolan and Jackson retired to a downstairs office so they could discuss the Knicks. It was all a
                                              27   part of Azoff’s plan.”).
                                                                                       9
                                              28                       AMENDED COMPLAINT SEEKING DAMAGES
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                                               1 appointment—in fact, she was extremely distracted, as the appointment fell within
                                               2 days of the disagreement with Golseth and others on the tour were discussing the
                                               3
                                                   incident and her involvement.
                                               4
                                               5          34.    Dolan noticed how upset Ms. Croft was, and he asked her to explain

                                               6 what was wrong. She explained what had happened, and Dolan responded to her
                                               7
                                                   stating, “I will make sure this is taken care of.” Ms. Croft dismissed her massage
                                               8
                                               9 client’s statement, not recognizing how much power and influence Dolan had over
                                              10 others on the tour.
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                                              11
                                                       35. Ms. Croft did not know, for example, that Dolan was extremely close
                                              12
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                                              13 friends with Irving Azoff, who, through his company, was the music manager for
                                              14 both the Eagles and JD & The Straight Shot. Indeed, around this time, Dolan was
                                              15
                                                 one of a select group of friends who Azoff called every morning to “chat” and “get
                                              16
                                                                   3
                                              17 ready for battle.” When Dolan and Irving Azoff started Azoff MSG Entertainment
                                              18 LLC in or about September 2013, Dolan publicly stated that Irving Azoff “was going
                                              19
                                                 to run everything.” Dolan also stated, “We’re going to be a good partner, but [Irving
                                              20
                                                                                                                4
                                              21 Azoff] is not subject to a board of directors. He just has me.” Dolan also shared
                                              22
                                              23
                                                   3
                                                          See Scott Cacciola, The Man in the Middle, N.Y. Times (March 24, 2014),
                                              24 www.nytimes.com/2014/03/25/sports/basketball/the-man-in-the-middle-of-the-knicks-deal-with-
                                              25 jackson.html.
                                                   4
                                                          Todd Martens, Madison Square Garden Invests $125 million in Irving Azoff Firm, L.A.
                                              26 Times (Sept. 4, 2013), https://www.latimes.com/entertainment/music/posts/la-et-ms-madison-
                                              27 square-garden-125-million-irving-azoff-firm-20130904-story.html (last accessed April 10, 2024).
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                                              28                   AMENDED COMPLAINT SEEKING DAMAGES
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                                               1 that his partnership with Azoff was something they had both wanted for some time,
                                               2 stating “We’ve always wanted to do this kind of thing. We’re finally in a position
                                               3
                                                   where we can do that. We’ve been collaborating on ideas and relating as business
                                               4
                                                                                                                   5
                                               5 executives for a long time. This is a natural outgrowth of that.”
                                               6         36.    At some point after Dolan’s statement to Ms. Croft that he would take
                                               7
                                                   care of her predicament, Frey called Ms. Croft and apologized repeatedly and
                                               8
                                               9 profusely to her for the situation with Golseth. Ms. Croft found this behavior
                                              10 extremely out of character for Frey. She thereafter learned that the Eagles fired
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                                              11
                                                 Golseth from the tour, and rumors spread that the incident between Ms. Croft and
                                              12
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                                              13 Golseth was the reason for the sudden termination.
                                              14         37.    In mid-November 2013, Ms. Croft joined the band in Miami for another
                                              15
                                                   part of the Eagles tour. Unfortunately, Ms. Croft continued to feel ostracized by
                                              16
                                              17 others because of Golseth’s firing and was even more isolated than before.
                                              18         38.    During this trip, Dolan scheduled his second massage with Ms. Croft.
                                              19
                                                   Dolan asked Ms. Croft how the situation concerning Golseth had evolved, and Ms.
                                              20
                                              21 Croft noted that Frey had apologized to her and that she hoped things would get
                                              22 better, although noted that she still felt isolated. Dolan responded, “I told you it
                                              23
                                              24
                                              25   5
                                                        David Lieberman, Irving Azoff Teams with Jim Dolan’s Madison Square Garden in New
                                                 Entertainment Venture, Deadline (Sept. 4, 2013), https://deadline.com/2013/09/irving-azoff-
                                              26 teams-with-jim-dolans-madison-square-garden-in-new-entertainment-venture-578308/      (last
                                              27 accessed April 10, 2024).
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                                              28                    AMENDED COMPLAINT SEEKING DAMAGES
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                                               1 would be taken care of,” thereby insinuating that he was the one who caused Frey to
                                               2 apologize to her.
                                               3
                                                         39.   At that moment, Ms. Croft began to understand the power Dolan had
                                               4
                                               5 on the tour—he was even able to get Frey to apologize to her.
                                               6         40.   At that same time, in the context of Ms. Croft’s professional massage
                                               7
                                                   of Dolan, he felt emboldened to further flex his power and influence over Ms. Croft.
                                               8
                                               9 Towards the end of the massage, Dolan pulled Ms. Croft towards him. She tried to
                                              10 push away, stating that she was very uncomfortable and that she took her job as a
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                                              11
                                                 Licensed Massage Therapist very seriously and that she wanted to remain
                                              12
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                                              13 professional.
                                              14         41.   Ms. Croft tried to bring the massage to an end, but Dolan proceeded to
                                              15
                                                   come on even stronger, treating Ms. Croft’s resistance as part of a challenge or a
                                              16
                                              17 game.
                                              18         42.   Dolan then grabbed Ms. Croft’s hands, dragging her to a couch in the
                                              19
                                                   same room and forcing her hands between his knees as he sat down. Ms. Croft was
                                              20
                                              21 adamant that she did not want to have any sexual interactions with Dolan, who was
                                              22 married at the time and over thirty years older than Ms. Croft.
                                              23
                                                       43. Dolan was extremely assertive, and pressured Ms. Croft into unwanted
                                              24
                                              25 sexual intercourse with him. She felt disgusted and terrified of the situation, but the
                                              26 extreme isolation she felt from others on the tour, coupled with Dolan’s attention to
                                              27
                                                                                            12
                                              28                  AMENDED COMPLAINT SEEKING DAMAGES
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                                               1 her, his assertions that he would take care of her, and her recognition that this man
                                               2 held immense power over everyone’s position on the tour—including hers—led her
                                               3
                                                   to submit to Dolan’s advances.
                                               4
                                               5         44.    Following this unwanted sexual contact, Ms. Croft was summoned to

                                               6 Dolan’s room multiple times during the remainder of that part of the tour. On each
                                               7
                                                   of these occasions, Dolan made unwelcome advances toward Ms. Croft, and she felt
                                               8
                                               9 obligated to submit to sex with him.
                                              10         45.    Dolan was extremely manipulative, constantly reminding Ms. Croft of
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                                              11
                                                   the way he “fixed” the situation with Golseth for her. He would also regularly name-
                                              12
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                                              13 drop famous celebrities and sports stars he said were his friends. Although Dolan
                                              14 claimed to be sober, Ms. Croft saw multiple bottles of Valium and Ambien in
                                              15
                                                 Dolan’s possession.
                                              16
                                              17       46. Ms. Croft was disgusted by Dolan, but her youth and extreme loneliness
                                              18 while on the road with strangers, as well as Dolan’s immense power, made it possible
                                              19
                                                 for Dolan to manipulate Ms. Croft and lure her under his control.
                                              20
                                              21    III. Dolan and Other Entities Traffick Ms. Croft to California
                                              22
                                                         47.    Around the end of 2013, Ms. Croft received a request from the Azoff
                                              23
                                                   Entities to join the tour in Los Angeles, California.
                                              24
                                              25         48.    Although Ms. Croft understood that she was being flown out to
                                              26
                                                   California by the Azoff Entities to work for the Eagles and Frey, she later learned
                                              27
                                                                                   13
                                              28                    AMENDED COMPLAINT SEEKING DAMAGES
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                                               1 that she was working for both the Eagles and Dolan. Marc Robbins, an agent of the
                                               2 Azoff Entities with an “azoffmuicmanagement.com” email address, forwarded Ms.
                                               3
                                                   Croft an email that suggested her flight to California would be expensed on “the JD
                                               4
                                               5 credit card.” On information and belief, “JD” referred to James Dolan and/or JD &
                                               6 The Straight Shot.
                                               7
                                                         49.    Ms. Croft thought it was strange that she was invited to Los Angeles,
                                               8
                                               9 as normally when the Eagles were in a major city, the band members were too busy
                                              10 to schedule massages with her. Frey also lived in California and had another
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                                              11
                                                 masseuse on call in Los Angeles, so Ms. Croft was not needed. Nevertheless, Ms.
                                              12
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                                              13 Croft was grateful for the work and accepted the invitation.
                                              14         50.    Ms. Croft had no reason to believe she would not be working for the
                                              15
                                                   Eagles on this tour. In booking her travel, Robbins told her that “I’ll need you at the
                                              16
                                              17 show Monday afternoon. We will make arrangements for you.” Additionally, Ms.
                                              18 Croft received an email from the Eagles’ assistant tour manager in advance of her
                                              19
                                                 trip stating that she was “excited to hear that we’ll get to see you soon.” As a result
                                              20
                                              21 of her communications with representatives of the Azoff Entities, she understood
                                              22 and believed that she would be joining the Eagles on tour, as she had in the past.
                                              23
                                                       51. Ms. Croft’s understanding was bolstered by the fact that Robbins, as a
                                              24
                                              25 member of the Azoff team serving as management for the Eagles, personally
                                              26
                                              27
                                                                                   14
                                              28                    AMENDED COMPLAINT SEEKING DAMAGES
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                                               1 transported Ms. Croft from The Peninsula to The Forum on days when shows were
                                               2 scheduled.
                                               3
                                                          52.    At the time, Ms. Croft did not know that JD & The Straight Shot and
                                               4
                                               5 Dolan would be opening for the Eagles on this part of the tour.
                                               6          53.    Ms. Croft also did not realize at the time the deep connections between
                                               7
                                                   Azoff’s companies, who had organized and paid for her travel and lodging at all
                                               8
                                               9 previous Eagles tour stints, and James Dolan. As part of the partnership formed with
                                              10 the creation of Azoff MSG Entertainment in September 2013, Dolan’s MSG paid
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                                              11
                                                 Azoff Music Management $125 million for a 50% stake in the joint venture and also
                                              12
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                                              13 provided a $50 million line of credit. The joint venture was specifically created to
                                              14 fund the renovation and reopening of The Forum, the historic music venue in Los
                                              15
                                                 Angeles. The venue’s first tour upon reopening in January 2014 was the Eagles,
                                              16
                                                                                                            6
                                              17 with JD & The Straight Shot performing as the opening act.
                                              18          54.    Indeed, Ms. Croft did not realize that the only reason Dolan was
                                              19
                                                   opening for the Eagles was because of his monetary investments in Irving Azoff’s
                                              20
                                              21
                                              22
                                              23
                                                   6
                                              24         Indeed, on December 21, 2013, Irving Azoff and his wife Shelli sent an email invitation to
                                                 the opening of The Forum, which specifically acknowledged that the venue remodeling was done
                                              25 jointly with Dolan: “We are delighted to extend the attached invitation from the two of us, along
                                                 with Jim Dolan, for you and a guest to attend what promises to be a once in a lifetime evening,
                                              26 celebrating the re-opening the newly remodeled Los Angeles Forum.”                            See
                                              27 https://wikileaks.org/sony/emails/emailid/56721 (last accessed April 10, 2024).
                                                                                     15
                                              28                      AMENDED COMPLAINT SEEKING DAMAGES
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                                               1 companies and, specifically, in The Forum. As one article described Dolan’s path
                                               2 to establishing his band,
                                               3
                                                         Dolan hit up powerful friends who’d offered to help. Azoff took over
                                               4         management of Dolan’s band. He accepted an invitation from [Eagles
                                               5         band member Joe] Walsh, an Azoff client, for JD & the Straight Shot
                                                         to open shows, including a date in August 2007 at the Beacon Theater,
                                               6         which MSG had acquired at the end of the previous year. Don Henley—
                                               7         the drummer and face of the Eagles, and Azoff stablemate—also
                                                         brought the band on as a warm-up act. While serving as the Eagles’
                                               8         opener, JD & the Straight Shot got to be the first band to play the
                                               9         refurbished L.A. Forum, which Dolan’s company had acquired two
                                                         years earlier. The Azoff connection likewise landed JD & the Straight
                                              10         Shot several stadium dates on a one-of-these-things-is-not-like-the-
                                                         other-ones cavalcade tour in 2010 with the Eagles, Keith Urban, and
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                                              11
                                                         the Dixie Chicks.7
                                              12
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                                              13         55.    Although Ms. Croft was unaware of the financial transactions that led

                                              14 to Dolan’s participation in the tour, Dolan and the Corporate Defendants knew that
                                              15
                                                 Dolan controlled the purse strings as it related to the re-opening of The Forum, and
                                              16
                                              17 that he thus had profound power over everyone involved in the venue and the tour.
                                              18         56.    When Ms. Croft arrived in Los Angeles, the Azoff Entities, including
                                              19
                                                   Robbins, arranged for Ms. Croft to be picked up at the airport by a security guard
                                              20
                                              21 for the Eagles who Ms. Croft knew from previous shows. The security guard
                                              22 brought her to stay at The Peninsula Hotel in Beverly Hills. Although the
                                              23
                                                 arrangements up until that point were typical of the other tour stints she had joined
                                              24
                                              25
                                                   7
                                                         Dave McKenna, James Dolan Wants You to Love His Band, Deadspin (May 5, 2016)
                                              26 https://deadspin.com/james-dolan-wants-you-to-love-his-band-1774444500 (last accessed April
                                              27 10, 2024).
                                                                                               16
                                              28                     AMENDED COMPLAINT SEEKING DAMAGES
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                                               1 with the Eagles, she soon became aware that the trip to Los Angeles was very
                                               2 different. Unlike the other tour stints that she joined with the Eagles, for example,
                                               3
                                                   Ms. Croft was not housed at the same hotel as the band and the other tour support
                                               4
                                               5 staff; instead, she was at the same hotel as Dolan and JD & The Straight Shot.
                                               6         57.   Ms. Croft was given a room to perform massages at the Forum, the
                                               7
                                                   newly re-opened venue funded by Irving Azoff and James Dolan. Ms. Croft spent
                                               8
                                               9 the majority of the time in Los Angeles by herself in the room at the Forum. Almost
                                              10 no tour members signed up for massage appointments.
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                                              11
                                                       58. Ms. Croft did not perform a single massage on any member of the
                                              12
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                                              13 Eagles while working at The Forum, despite ostensibly being flown to California for
                                              14 that very purpose, and even though she later received “venue pay” from the Eagles
                                              15
                                                 through the Azoff Entities.
                                              16
                                              17        59. Although the Azoff Entities purported to fly Ms. Croft from Tennessee
                                              18 to California to perform legal massage services for the Eagles and other tour
                                              19
                                                 members, in reality, Ms. Croft was flown out to Los Angeles for the purposes of
                                              20
                                              21 engaging in unwanted sexual acts with Dolan. On information and belief, the Azoff
                                              22 Entities arranged for Ms. Croft to be brought to California at Dolan’s request. In
                                              23
                                                 doing so, the Azoff Entities knew or acted in reckless disregard to the fact that Dolan
                                              24
                                              25 sought Ms. Croft’s presence not for legitimate business purposes, but because he
                                              26 wished to sexually exploit Ms. Croft.
                                              27
                                                                                  17
                                              28                   AMENDED COMPLAINT SEEKING DAMAGES
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                                               1         60.   Indeed, Dolan expected Ms. Croft to have sexual interactions with him

                                               2 during the tour, and she spent her time either isolated by herself or waiting for
                                               3
                                                   instructions from Dolan.
                                               4
                                               5         61.   On evenings when there was no show scheduled at The Forum, Ms.

                                               6 Croft would stay alone in her room at the Peninsula until she was inevitably called
                                               7
                                                   to Dolan’s room for a “massage” or to “work on [him.]” On these occasions, Dolan
                                               8
                                               9 never truly wanted only a massage, but expected sexual favors.
                                              10         62.   Ms. Croft did not want to have sexual and intimate contact with a man
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                                              11
                                                   twice her age whom she did not find remotely attractive. But given Dolan’s power,
                                              12
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                                              13 she was terrified of upsetting him by rejecting his sexual demands. She understood
                                              14 that doing so would jeopardize her work with the Eagles and future opportunities to
                                              15
                                                 serve as a Licensed Massage Therapist for professional musicians. Thus, Ms.
                                              16
                                              17 Croft’s submission to Dolan’s sexual demands, which included him touching Ms.
                                              18 Croft’s breasts, buttocks and vagina, was neither free nor voluntary, and was against
                                              19
                                                 Ms. Croft’s will.
                                              20
                                              21       63. At times, Dolan acted romantically toward Ms. Croft, pretending that
                                              22 he had brought her to California for something more than merely satisfying his desire
                                              23
                                                 to have a sex-fueled “rock star” experience on the road. Ms. Croft’s youthful naivete
                                              24
                                              25 led her to believe, at the time, that Dolan actually cared about her.
                                              26
                                              27
                                                                                  18
                                              28                   AMENDED COMPLAINT SEEKING DAMAGES
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                                               1         64.   Dolan even suggested that he would rent a car and drive with Ms. Croft

                                               2 down the Pacific Coast Highway. Instead, Ms. Croft was left alone at the Forum or
                                               3
                                                   at The Peninsula while other tour members socialized.
                                               4
                                               5         65.   On one occasion, Ms. Croft was summoned to Dolan’s hotel room for

                                               6 a supposed “massage.” Once in his room, Dolan shared that he and “the band”
                                               7
                                                   (meaning his JD & The Straight Shot bandmates) had together gone to an adult
                                               8
                                               9 entertainment store where Dolan had purchased a vibrating sex toy for Ms. Croft.
                                              10 He told her that he bought it for her because she had previously discussed with him
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                                              11
                                                 the practice of using vibrations on vocal cords for massages for vocalists like the
                                              12
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                                              13 musicians she worked with. When Ms. Croft explained that the device she was
                                              14 referring to was a specific professional massage tool, Dolan then suggested the two
                                              15
                                                 use the sex toy he purchased for sexual activity.
                                              16
                                              17        66. Ms. Croft was humiliated—first, because Dolan had made a mockery
                                              18 of the massage practices that she had devoted her career to and took extremely
                                              19
                                                 seriously, and second, because it was clear that Dolan had told his friends and
                                              20
                                              21 bandmates that he was purchasing a sex toy for her, leaving no question that others
                                              22 on the tour knew that Dolan was having sexual contact with Ms. Croft.
                                              23
                                                       67. By disclosing his illicit activities with Ms. Croft to his bandmates, Ms.
                                              24
                                              25 Croft believes that Dolan also gave the impression to others on the tour that Ms.
                                              26 Croft was available to provide sexual services. For example, JD & The Straight Shot
                                              27
                                                                                            19
                                              28                  AMENDED COMPLAINT SEEKING DAMAGES
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                                               1 band member Brian Mitchell signed up for a massage with Ms. Croft. When in the
                                               2 massage room, Mitchell asked Ms. Croft if she would provide him with a “prostate
                                               3
                                                   massage.” At the time, Ms. Croft did not know what that meant, and she told Mr.
                                               4
                                               5 Mitchell that wasn’t familiar with what he was asking for but would do some
                                               6 research. Ms. Croft subsequently determined that Mitchell was asking for a sexual
                                               7
                                                   favor, not a legitimate massage. On information and belief, Dolan’s bandmate
                                               8
                                               9 believed that Ms. Croft would engage in sexual contact because Dolan had suggested
                                              10 that she was available for sexual favors.
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                                              11
                                                    IV. Dolan Fraudulently Coordinates a Meeting Between Ms. Croft and
                                              12
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                                                           Harvey Weinstein
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                                              13
                                                        68. A few days into this leg of the tour, on January 21, 2014, Dolan
                                              14
                                              15 encouraged Ms. Croft to join two female assistants from Irving Azoff Management,
                                              16
                                                   including a woman named Jillian Lentz,8 for shopping and dinner in Los Angeles.
                                              17
                                                   After shopping for clothes, the three women had dinner at a burger restaurant. Ms.
                                              18
                                              19 Croft was nervous and uncomfortable around these two strangers.
                                              20
                                                          69.     When she returned to the Peninsula, she waited for the elevator to her
                                              21
                                                   floor next to a large man she had never seen before while holding her shopping bags
                                              22
                                              23
                                              24
                                              25
                                                   8
                                                          According to Ms. Lentz’s LinkedIn profile, she worked for Azoff Music Management from
                                              26 October          2013           through            February           2015.                 See
                                              27 https://www.linkedin.com/in/jillianlentz/details/experience/ (last accessed April 10, 2024).
                                                                                                   20
                                              28                    AMENDED COMPLAINT SEEKING DAMAGES
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                                               1 and a box of leftover food. When the elevator arrived, Ms. Croft and the man entered
                                               2 the elevator together.
                                               3
                                                         70.    In the elevator, the large man asked Ms. Croft, “who is that to-go box
                                               4
                                               5 for?” She responded that she was going to give it to her friend James Dolan, who
                                               6 was also staying at the hotel.
                                               7
                                                         71.    The man responded to Ms. Croft that Dolan was “one of his best
                                               8
                                               9 friends,” and proceeded to ask Ms. Croft if she was “the massage therapist.”
                                              10 According to the man, Dolan had mentioned his massage therapist and had said great
             85 FI IFTH AVENUE, FIFTH FLOOR




                                              11
                                                 things about her. He introduced himself as Harvey Weinstein.
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                                              13       72. Ms. Croft did not know much about Weinstein other than what she had

                                              14 heard from Dolan himself, who had boasted about having a “buddy” who worked on
                                              15
                                                 all the cool movies in Hollywood.
                                              16
                                              17        73. In the elevator, Weinstein suggested that he might have work
                                              18 opportunities for Ms. Croft, stating that “we always need massage therapists on set
                                              19
                                                 for actors and actresses.” He asked Ms. Croft if she would be interested in such an
                                              20
                                              21 opportunity.
                                              22         74.    Ms. Croft was stunned by the offer and said that she would be happy to
                                              23
                                                   discuss such a role.
                                              24
                                              25         75.    Weinstein suggested that they discuss the job opportunity immediately,
                                              26 and he insisted that Ms. Croft join him in his suite to continue the conversation.
                                              27
                                                                                            21
                                              28                   AMENDED COMPLAINT SEEKING DAMAGES
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                                               1         76.   Ms. Croft’s hotel room was near Weinstein’s. Because she had no other

                                               2 obligations that evening, she agreed to join Weinstein to discuss what sounded like
                                               3
                                                   a dream job opportunity.
                                               4
                                               5         77.   After entering Weinstein’s suite, Ms. Croft sat down on a couch in the

                                               6 living room area and set down her to-go box and shopping bags near her. Weinstein
                                               7
                                                   nodded towards Ms. Croft’s shopping bags and told her that she should try on the
                                               8
                                               9 clothes she purchased for him. Weinstein told Ms. Croft that as a producer for the
                                              10 show Project Runway, he “really knew” clothes and could tell when things “fit
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                                              11
                                                 properly.”
                                              12
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                                              13       78. Although confused by the request, Ms. Croft was extremely intimidated

                                              14 by Weinstein. As Ms. Croft began to take her shopping bags to the bathroom in the
                                              15
                                                 living room area of the suite, Weinstein stopped her, telling her to try on the clothes
                                              16
                                              17 “out here,” insisting that “that’s how we do it here.”
                                              18         79.   Ms. Croft explained that she was not comfortable with changing in front
                                              19
                                                   of him and proceeded to the bathroom. Weinstein appeared amused at Ms. Croft’s
                                              20
                                              21 protestations.
                                              22         80.   After trying on some clothes, Ms. Croft returned to the couch to discuss
                                              23
                                                   the work opportunity Weinstein had mentioned. Weinstein handed Ms. Croft a
                                              24
                                              25 drink, but she only took a sip or two, wanting to focus instead of the potential
                                              26 business opportunity.
                                              27
                                                                                  22
                                              28                   AMENDED COMPLAINT SEEKING DAMAGES
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                                               1           81.     Weinstein was extremely complementary towards Ms. Croft, noting

                                               2 that she reminded him of actress Reese Witherspoon.
                                               3
                                                      V.         Weinstein Sexually Assaults Ms. Croft and Ms. Croft Immediately
                                               4                 Reports the Assault to Dolan
                                               5
                                                           82.     As the conversation turned to massage therapy, Weinstein asked Ms.
                                               6
                                               7 Croft if she could “show [him] what she could do” and requested that she give him
                                               8 a massage. Ms. Croft immediately dismissed the request, noting that she was very
                                               9
                                                 particular about only performing massages properly using her massage table.
                                              10
                                                           83.     Around this time, Weinstein came behind Ms. Croft on the couch and
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                                              11
                                              12
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                                                   began rubbing her shoulders, again requesting that she massage him.
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                                              13
                                                   Uncomfortable, Ms. Croft again stated she would not perform any massage without
                                              14
                                              15 the proper set up.
                                              16
                                                           84.     Weinstein then excused himself to go to the bathroom. When he
                                              17
                                                   returned to the living room area of the suite, he was wearing a loosely tied bathrobe
                                              18
                                              19 and appeared to be naked underneath the bathrobe. While standing mostly unclothed
                                              20
                                                   in front of Ms. Croft, he asked her, “so, when are you going to give me a massage?”
                                              21
                                                           85.     Ms. Croft was terrified and panicked. She immediately tried to figure
                                              22
                                              23 out a way to avoid the escalating situation. She reiterated that it was very important
                                              24
                                                   to have her massage table, especially for someone with a “greater stature” like
                                              25
                                              26 Weinstein. Frantic to avoid what Weinstein was requesting, she also suggested that
                                              27
                                                                                      23
                                              28                       AMENDED COMPLAINT SEEKING DAMAGES
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                                               1 she would need permission the Eagles to perform any other massages, as she was
                                               2 brought out to Los Angeles for them specifically.
                                               3
                                                         86.   Weinstein was unphased by Ms. Croft’s attempts to get away and asked
                                               4
                                               5 her to look at the bed in the bedroom of the suite because it was “perfect” for a
                                               6 massage.
                                               7
                                                         87.   When Ms. Croft again said she was not comfortable with the situation,
                                               8
                                               9 Weinstein began to get irritated and angry with her. He stated, “well this is just how
                                              10 people do things in Hollywood, if you will not be reasonable and are not able to
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                                              11
                                                 handle requests on the fly, you won’t make it in Hollywood.”
                                              12
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                                              13       88. Ms. Croft agreed to look at the bed, but again assured Weinstein that

                                              14 the bed would not work for a massage, and that she really needed her table and for
                                              15
                                                 his body to be draped with a sheet or blanket. Weinstein became very angry, stating
                                              16
                                              17 that Ms. Croft could easily massage him on the bed and that he liked to be completely
                                              18 naked.
                                              19
                                                       89. Ms. Croft tried to leave the room, but Weinstein blocked the door to
                                              20
                                              21 prevent her from leaving. Terrified and desperate, Ms. Croft tried one last attempt
                                              22 to avoid Weinstein, stating that she felt “so lucky to have the opportunity to work
                                              23
                                                 on” Weinstein and wanted to make sure that it was done correctly so that she could
                                              24
                                              25 show him what she is capable of. Weinstein reluctantly agreed and allowed Ms.
                                              26 Croft to exit the suite.
                                              27
                                                                                   24
                                              28                    AMENDED COMPLAINT SEEKING DAMAGES
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                                               1         90.    Ms. Croft hurried down the hallway to her hotel room, but as she left,

                                               2 she realized that Weinstein had followed her out of his suite down the hallway. He
                                               3
                                                   was still only wearing a loosely tied bathrobe.
                                               4
                                               5         91.    Ms. Croft arrived at her room and rushed inside. Once inside, Ms. Croft

                                               6 attempted to push the door closed. As the door closed, though, Weinstein stuck his
                                               7
                                                   foot in the opening of the door and pushed the door open. He barged into Ms. Croft’s
                                               8
                                               9 hotel room.
                                              10         92.    Weinstein then backed Ms. Croft onto the bed, forced her down, and
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                                              11
                                                   forced her legs open. Standing between her legs, he undid his robe, and shoved his
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                                              13 fingers inside of her, using his other hand to hold her down. He tried to force his
                                              14 penis inside of her, although he struggled to do so.
                                              15
                                                        93. Ms. Croft fought back the best she could, although she recalls that
                                              16
                                              17 Weinstein felt like a giant compared to her. She struggled to sit up, push him away,
                                              18 and tried as hard as she could to keep her legs together.
                                              19
                                                        94. In the midst of the assault, Ms. Croft’s hotel room phone began to ring.
                                              20
                                              21 She tried to use the phone as an excuse to escape, stating “that’s probably Jim Dolan
                                              22 calling me, he is going to come down here if I don’t answer his call.”
                                              23
                                                        95. Ms. Croft managed to wriggle away enough to grab the phone, and
                                              24
                                              25 discovered that it was, in fact, Dolan calling her. She picked up the call and told
                                              26 Dolan that she would be with him shortly.
                                              27
                                                                                          25
                                              28                 AMENDED COMPLAINT SEEKING DAMAGES
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                                               1         96.   After hearing her speak to Dolan, Weinstein backed off of Ms. Croft.

                                               2 He then stated to her, “well, you know Jim and I are best friends. He’s going to be
                                               3
                                                   very disappointed that you led me on, this won’t look good for you.” Weinstein then
                                               4
                                               5 left Ms. Croft’s hotel room.
                                               6         97.   Rattled and shaken, Ms. Croft went to Dolan’s hotel room. She was
                                               7
                                                   visibly upset, and Dolan inquired what was wrong.
                                               8
                                               9         98.   In response, Ms. Croft told Dolan that she had met Weinstein in the

                                              10 elevator lobby, had joined him for a discussion, and that Weinstein was “sexually
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                                              11
                                                 aggressive” with her.
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                                              13       99. Dolan was not at all surprised by the fact that Ms. Croft had “randomly”

                                              14 happened to meet one of his “best friends” at the hotel. Nor, incredibly, did Dolan
                                              15
                                                 express any surprise at the news that Weinstein was “sexually aggressive” with Ms.
                                              16
                                              17 Croft. To the contrary, Dolan responded to Ms. Croft’s report of sexual assault in a
                                              18 completely matter-of-fact tone, noting that Weinstein was “a troubled person” that
                                              19
                                                 had a lot of “serious issues,” but that his friends were “trying to get him to address”
                                              20
                                              21 those issues. Dolan intimated that Weinstein was not a “safe” person but did little
                                              22 to console Ms. Croft or help her to report the assault to the authorities. Indeed, with
                                              23
                                                 his comments, Ms. Croft felt that Dolan completely dismissed the gravity of the
                                              24
                                              25 situation and did not truly care about what his friend had done to her.
                                              26
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                                              28                   AMENDED COMPLAINT SEEKING DAMAGES
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                                               1         100. The day after the attack, Ms. Croft attempted to work but felt so

                                               2 physically and emotionally unwell that Robbins, the executive from the Azoff
                                               3
                                                   Entities, sent a doctor to see her. In the following days, Ms. Croft felt so physically
                                               4
                                               5 and emotionally unwell that she called out sick from work. She found herself unable
                                               6 to leave her hotel room, wracked with shame and disgust, and completely isolated.
                                               7
                                                   Dolan was aware that Ms. Croft was unwell after Weinstein’s horrific attack.
                                               8
                                               9         101. Ms. Croft left the tour after the Los Angeles concerts heartbroken and

                                              10 traumatized.
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                                              11
                                                       102. The Azoff Entities arranged and paid for Ms. Croft’s return flight from
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                                              13 Los Angeles to Tennessee.
                                              14      VI.    Ms. Croft Suffers Following Dolan’s Exploitation and Manipulation
                                              15             and Weinstein’s Horrific Sexual Attack
                                              16
                                                         103. Ms. Croft was never the same after her experiences on tour with the
                                              17
                                                   Eagles.
                                              18
                                              19         104. When she returned home to Tennessee, her friends and family noticed
                                              20
                                                   that she was no longer as happy and energetic as she used to be.
                                              21
                                                         105. Moreover, she lost her passion and love for massage therapy—a
                                              22
                                              23 practice she had previously devoted her life to. When she had scheduled massage
                                              24
                                                   appointments with clients following the tour, she would often have panic attacks
                                              25
                                              26 leading up to the appointment. On multiple occasions, just before starting a massage,
                                              27
                                                                                   27
                                              28                    AMENDED COMPLAINT SEEKING DAMAGES
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                                               1 Ms. Croft’s muscles would tense so extremely that she could not move her hands or
                                               2 perform a massage. On these occasions, she would retreat to an empty room where
                                               3
                                                   she would cry and shake until she could call her parents to pick her up.
                                               4
                                               5         106. To cope with the incessant stress and horrific memories of the tour, Ms.

                                               6 Croft turned to drugs and alcohol to forget about the assault and to assuage her
                                               7
                                                   feelings of shame and guilt for getting roped into Dolan’s manipulations. Her
                                               8
                                               9 substance use turned to abuse, and she later required extensive rehabilitation to cope
                                              10 with her depression and the related substance use.
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                                              11
                                                       107. Weinstein’s assault and Dolan’s unlawful sex trafficking and
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                                              13 manipulation—both together and separately—weighed on Ms. Croft for years. She
                                              14 struggled to form healthy relationships with men, as she felt betrayed by her trusting
                                              15
                                                 nature, believing it led Dolan to take advantage of her and allowed Weinstein to
                                              16
                                              17 attack her.
                                              18         108. Tragically, Ms. Croft has since abandoned her lifelong love of massage
                                              19
                                                   therapy. She is unable to engage in the healing physical practice that she cared so
                                              20
                                              21 deeply for, as now it carries all of the pain and devastation caused by Dolan and
                                              22 Weinstein.
                                              23
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                                              28                    AMENDED COMPLAINT SEEKING DAMAGES
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                                               1                            FIRST CAUSE OF ACTION
                                                                           (Violation of 15 U.S.C. § 1591)
                                               2                 Against James Dolan and The Corporate Defendants
                                               3
                                                         109. Plaintiff repeats and realleges each and every allegation in all of the
                                               4
                                               5 preceding paragraphs as if fully set forth herein.
                                               6         110. Plaintiff is a victim of sex trafficking within the meaning of 18 U.S.C.
                                               7
                                                   § 1591(a) and (b) and is therefore entitled to bring a civil action under 18 U.S.C.
                                               8
                                               9 § 1595.
                                              10         111. Defendant Dolan and the Corporate Defendants formed a venture as
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                                              11
                                                   defined by 18 U.S.C. § 1591 given that they constituted a “group of two or more
                                              12
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                                              13 individuals associated in fact, whether or not a legal entity.”
                                              14         112. Defendant Dolan was an agent of the Corporate Defendants.
                                              15
                                                         113. When engaging in unwanted commercial sex acts with Plaintiff in Los
                                              16
                                              17 Angeles, Dolan was acting in his capacity as an agent of the Corporate Defendants.
                                              18 As a result, the Corporate Defendants are vicariously liable for Dolan’s unlawful
                                              19
                                                 acts.
                                              20
                                              21         114. Defendants’ acts and omissions, taken separately and/or together, as
                                              22 outlined above, constitute a violation of 18 U.S.C. § 1591. Specifically, Defendant
                                              23
                                                 James Dolan and the Corporate Defendants perpetrated sex trafficking of Ms. Croft
                                              24
                                              25 by transporting her to California for the purposes of providing sexual favors, and all
                                              26 Defendants benefitted from Dolan’s venture by keeping Ms. Croft subject to Dolan’s
                                              27
                                                                                         29
                                              28                 AMENDED COMPLAINT SEEKING DAMAGES
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                                               1 demands and desires. At all relevant times, Defendants participated in and facilitated
                                               2 the harboring and transportation of Plaintiff for purposes of sex induced by force,
                                               3
                                                   fraud, or coercion.
                                               4
                                               5         115. The Corporate Defendants, including the Azoff Entities, have

                                               6 financially and otherwise benefited as a result of these acts and omissions by keeping
                                               7
                                                   Dolan satisfied. In addition to the extremely close personal relationship between
                                               8
                                               9 Dolan and Irving Azoff, Dolan was a critically important business partner for the
                                              10 Azoff Entities, reflected by Dolan’s decision to have Madison Square Garden invest
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                                              11
                                                 $175 million in Azoff MSG Entertainment, LLC and to serve as a funding source
                                              12
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                                              13 for the Eagles 2014 tour and the opening of The Forum. The Azoff Entities thus
                                              14 benefited from facilitating Dolan’s behavior to the extent it kept their important
                                              15
                                                 partner, a notoriously erratic billionaire, happy.
                                              16
                                              17       116. As a direct and proximate result of Defendants’ unlawful conduct as
                                              18 alleged hereinabove, Plaintiff has suffered physical injury, severe emotional distress
                                              19
                                                 and anxiety, humiliation, embarrassment, post-traumatic stress disorder, economic
                                              20
                                              21 harm, and other consequential damages.
                                              22         117. Plaintiff also seeks reasonable attorneys’ fees as provided under 18
                                              23
                                                   U.S.C. § 1595(a).
                                              24
                                              25
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                                              28                    AMENDED COMPLAINT SEEKING DAMAGES
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                                               1                            SECOND CAUSE OF ACTION
                                                                                  (Sexual Battery)
                                               2                                Against James Dolan
                                               3
                                                         118. Plaintiff repeats and realleges each and every allegation in all of the
                                               4
                                               5 preceding paragraphs as if fully set forth herein.
                                               6
                                                         119. Defendant James Dolan committed a battery against Plaintiff when he
                                               7
                                                   intentionally engaged in trafficking Plaintiff for commercial sex acts and then
                                               8
                                               9 engaged in unlawful, intentional, and offensive touching or application of force to
                                              10
                                                   Plaintiff’s person, where Plaintiff did not act freely and voluntarily with knowledge
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                                              11
                                                   of the nature of the transactions involved, and the actions were against Plaintiff’s
                                              12
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                                              13 will, as defined in Cal. Penal Code § 243.4.
                                              14
                                                         120. As a result of Dolan’s alleged conduct, Plaintiff has suffered physical
                                              15
                                              16 injury, severe emotional distress, humiliation, embarrassment, anxiety, economic
                                              17 harm, and other consequential damages.
                                              18
                                                         121. The conduct of Dolan described above was willful, wanton, and
                                              19
                                              20 malicious. At all relevant times, Dolan acted with conscious disregard of Plaintiff’s
                                              21 rights and feelings, acted with the knowledge of or with reckless disregard for the
                                              22
                                                   fact that his conduct was certain to cause injury and/or humiliation to Plaintiff, and
                                              23
                                              24 intended to cause fear, physical injury, and/or pain and suffering to Plaintiff. By
                                              25 virtue of the foregoing, Plaintiff is entitled to recover punitive and exemplary
                                              26
                                                   damages from James Dolan according to proof at trial.
                                              27
                                                                                   31
                                              28                    AMENDED COMPLAINT SEEKING DAMAGES
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                                               1         122. This cause of action is timely under California’s Sexual Abuse and

                                               2 Cover-Up Accountability Act, AB 2777 because it is “based on conduct that
                                               3
                                                   occurred on or after January 1, 2009, and is commenced []after January 1, 2019,”
                                               4
                                               5 and is thereby revived by Cal. Code Civ. Proc. § 340.16 (b)(3).
                                               6                             THIRD CAUSE OF ACTION
                                               7                           (Sexual Assault/Attempted Rape)
                                                                               Against Harvey Weinstein
                                               8
                                               9         123. Plaintiff repeats and realleges each and every allegation in all of the
                                              10
                                                   preceding paragraphs as if fully set forth herein.
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                                              11
                                                         124. Defendant Harvey Weinstein committed an assault and battery against
                                              12
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                                              13 Plaintiff because he intentionally engaged in unlawful, intentional, and offensive
                                              14
                                                   touching or application of force to Plaintiff’s person , as defined in Cal. Penal Code
                                              15
                                              16 §§ 243.4 and 261.
                                              17         125. As a result of Harvey Weinstein’s alleged conduct, Plaintiff has
                                              18
                                                   suffered physical injury, severe emotional distress, humiliation, embarrassment,
                                              19
                                              20 anxiety, economic harm, and other consequential damages.
                                              21         126. The conduct of Harvey Weinstein described above was willful, wanton,
                                              22
                                                   and malicious. At all relevant times, Harvey Weinstein acted with conscious
                                              23
                                              24 disregard of Plaintiff’s rights and feelings, acted with the knowledge of or with
                                              25 reckless disregard for the fact that his conduct was certain to cause injury and/or
                                              26
                                                   humiliation to Plaintiff, and intended to cause fear, physical injury, and/or pain and
                                              27
                                                                                   32
                                              28                    AMENDED COMPLAINT SEEKING DAMAGES
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                                               1 suffering to Plaintiff. By virtue of the foregoing, Plaintiff is entitled to recover
                                               2 punitive and exemplary damages from Harvey Weinstein according to proof at trial.
                                               3
                                                         127. This cause of action is timely under California’s Sexual Abuse and
                                               4
                                               5 Cover-Up Accountability Act, AB 2777 because it is “based on conduct that
                                               6 occurred on or after January 1, 2009, and is commenced []after January 1, 2019,”
                                               7
                                                   and is thereby revived by Cal. Code Civ. Proc. § 340.16 (b)(3).
                                               8
                                               9                         FOURTH CAUSE OF ACTION
                                                               (Aiding and Abetting Sexual Assault/Attempted Rape)
                                              10                              Against James Dolan
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                                              11
                                                         128. Plaintiff repeats and realleges each and every allegation in all of the
                                              12
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                                              13 preceding paragraphs as if fully set forth herein.
                                              14
                                                         129. Defendant James Dolan aided, abetted, advised, encouraged, enabled,
                                              15
                                              16 and facilitated Defendant Harvey Weinstein’s battery and assault of Plaintiff by
                                              17 orchestrating and facilitating a meeting between Weinstein and Plaintiff for the
                                              18
                                                   purposes of Weinstein engaging in sex acts with Plaintiff, and Weinstein did in fact
                                              19
                                              20 intentionally engage in unlawful, intentional, and offensive touching or application
                                              21 of force to Plaintiff’s person, as defined in Cal. Penal Code §§ 243.4 and 261.
                                              22
                                                         130. As a result of James Dolan’s alleged conduct in aiding and abetting
                                              23
                                              24 Weinstein’s criminal acts, Plaintiff has suffered physical injury, severe emotional
                                              25 distress, humiliation, embarrassment, anxiety, economic harm, and other
                                              26
                                                   consequential damages.
                                              27
                                                                                   33
                                              28                    AMENDED COMPLAINT SEEKING DAMAGES
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                                               1         131. The conduct of James Dolan described above was willful, wanton, and

                                               2 malicious. At all relevant times, James Dolan acted with conscious disregard of
                                               3
                                                   Plaintiff’s rights and feelings, acted with the knowledge of or with reckless disregard
                                               4
                                               5 for the fact that his conduct was certain to cause injury and/or humiliation to
                                               6 Plaintiff, and intended to cause fear, physical injury, and/or pain and suffering to
                                               7
                                                   Plaintiff. By virtue of the foregoing, Plaintiff is entitled to recover punitive and
                                               8
                                               9 exemplary damages from James Dolan according to proof at trial.
                                              10         132. This cause of action is timely under California’s Sexual Abuse and
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                                              11
                                                   Cover-Up Accountability Act, AB 2777 because it is “based on conduct that
                                              12
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                                              13 occurred on or after January 1, 2009, and is commenced []after January 1, 2019,”
                                              14 and is thereby revived by Cal. Code Civ. Proc. § 340.16 (b)(3).
                                              15
                                                                             PRAYER FOR RELIEF
                                              16
                                              17         WHEREFORE, Plaintiff prays judgment be entered in her favor against
                                              18
                                                   Defendants, and each of them, as follows:
                                              19
                                              20         1.     For a money judgment representing compensatory damages including
                                              21
                                                   consequential damages, lost wages, earning, and all other sums of money, together
                                              22
                                                   with interest on these amounts, according to proof;
                                              23
                                              24         2.     For an award of money judgment for mental pain and anguish and
                                              25
                                                   severe emotional distress, according to proof;
                                              26
                                                         3.     For punitive and exemplary damages according to proof;
                                              27
                                                                                            34
                                              28                    AMENDED COMPLAINT SEEKING DAMAGES
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                                               1   4.   For attorneys’ fees and costs;

                                               2   5.   For prejudgment and post-judgment interest; and
                                               3
                                                   6.   For such other and further relief as the Court may deem just and proper.
                                               4
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                                              28            AMENDED COMPLAINT SEEKING DAMAGES
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                                               1                                    JURY DEMAND

                                               2         Plaintiff hereby demands a trial by jury on all issues of fact and damages stated
                                               3
                                                   herein.
                                               4
                                               5 Dated: April 10, 2024
                                                                                          Respectfully submitted,
                                               6
                                               7
                                                                                          By: ________________________
                                               8
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                                              10                                          Meredith A. Firetog (Admitted pro hac vice)
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                                              26                                          Attorneys for Plaintiff Kellye Croft
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                                              28                    AMENDED COMPLAINT SEEKING DAMAGES
